

St. Mark's World Acquisition, LLC v Morgan (2025 NY Slip Op 02173)





St. Mark's World Acquisition, LLC v Morgan


2025 NY Slip Op 02173


Decided on April 15, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 15, 2025

Before: Webber, J.P., Friedman, Kapnick, Rodriguez, Rosado, JJ. 


Index No. 655925/18|Appeal No. 4106|Case No. 2024-02370|

[*1]St. Mark's World Acquisition, LLC et al., Respondents,
vDr. Michael Morgan, Appellant.


Dr. Michael M. Morgan, appellant pro se.
Igbakwe PLLC, New York (O. Williams Igbakwe of counsel), for appellant.
Ansell Grimm &amp; Aaron, P.C., New York (Layne A. Feldman of counsel), for respondents.



Order, Supreme Court, New York County (Nancy M. Bannon, J.), entered March 14, 2024, which, to the extent appealed from as limited by the briefs, denied defendant's motion for contempt against plaintiffs for breach of a so-ordered stipulation and to void the stipulation and restore the matter to the court's calendar, unanimously affirmed.
Supreme Court properly denied defendant's motion for contempt. The so-ordered stipulation is a lawful court order (see Gordon v Schaeffer, 176 AD3d 431, 431 [1st Dept 2019]; Ford v City of New York, 54 AD3d 263, 266 [1st Dept 2008]).
Defendant has not cited any evidence in the record on appeal, much less clear and convincing evidence, tending to show that plaintiffs disobeyed the so-ordered stipulation (see Matter of Michael Y. v Dawn S., 212 AD3d 493, 495 [1st Dept 2023]; see also El-Dehdan v El-Dehdan, 26 NY3d 19, 29 [2015]; Pacific Alliance Asia Opportunity Fund L.P. v Kwok Ho Wan, 199 AD3d 423, 423 [1st Dept 2021]).
We have considered defendant's remaining contentions and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 15, 2025








